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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI

JOHN C. KITCHIN, JR., et al.,               )
on behalf of themselves and all others      )
similarly situated,                         )
                                            )
               Plaintiffs,                  )
                                            )
vs.                                         )          Case No. 4 :18-cv-00672-CDP
                                            )
BRIDGETON LANDFILL, LLC, et al.             )
                                            )
               Defendants.                  )
                                            )

               MOTION BY PLAINTIFFS, JAMES F. CLAYBORNE, Jr. AND
          CLAYBORNE AND WAGNER LLP FOR LEAVE TO FILE MEMORANDUM
              IN RESPONSE TO DEFENDANTS’ MOTION TO DISQUALIFY
                                 UNDER SEAL

       Come now Plaintiffs, James F. Clayborne, Jr., and Clayborne & Wagner LLP, by their

counsel of record, and respectfully request that this Court enter an order authorizing the

filing of their unredacted Memorandum in Response to Motion to Disqualify under seal.

       This request is submitted in deference to Defendants’ Motion for Sealing their motion

to disqualify James F. Clayborne, Jr. and Clayborne & Wagner LLP from representing

Plaintiffs and the memorandum in support of that motion and the Court’s order of June 21,

2022, granting that motion in part.

                                          Respectfully submitted,

                                          ___/s/ Mary Robinson___________________
                                          Mary Robinson #2357313 (IL)
                                          Robinson, Stewart, Montgomery & Doppke, LLC
                                          33 N. Dearborn, Suite 1420
                                          Chicago, Illinois 60602
                                          (312) 676-9875
                                          mrobinson@rsmdlaw.com
                                          Attorney for James F. Clayborne, Jr. and
                                          Clayborne & Wagner LLP

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                                    ___/s/ Ryan Keane ___________________
                                    Ryan A. Keane, # 62112
                                    7711 Bonhomme Ave, Ste 600
                                    St. Louis, MO 63105
                                    Phone: (314) 391-4700
                                    Fax: (314) 244-3778
                                    ryan@keanelawllc.com
                                    Attorneys for Plaintiffs and Proposed Class




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                               CERTIFICATE OF SERVICE


       The undersigned attorney hereby certifies that on this 5th day of July, 2022, she

caused a true and accurate copy of the foregoing to be served by filing it in the court’s

electronic filing system, which will provided electronic notice to all parties and attorneys of

record.


                                           /s/ Mary Robinson
                                           Mary Robinson
